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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                      HON.PATRICK J.DUGGAN
                                                      CASE NO.04-80480-1
UNITED STATES OF AMERICA,

-V-

HANI MORTADA,

                      /

                                  AMENDED
                      ORDER EXTENDING REPORTING DATE

      The defendant having filed a Motion to Extend Reporting Date and the Government

having no objection; therefore

      IT IS ORDERED that the defendant report to the institution designated by the

Bureau of Prisons on Monday, November 24, 2008 by 12:00 noon.



                           s/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: September 11, 2008

I hereby certify that a copy of the foregoing document was served upon counsel of record
on September 11, 2008, by electronic and/or ordinary mail.
                           s/Marilyn Orem
                           Case Manager
